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BRUCE J. MELTZER, A Professional Corporation

By: Bruce J. Meltzer, Esquire (8M0077) sus 15 2005
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Mount Laurel, NJ 08054 IAM T WALSH

Ica

(908) 420-8452
Attomey for Garnishee Duggan Partners, LLC
a/k/a Dugan Partners, LLC

TIN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
(Newark Vicinage)

CHEROKEE SOLUTIONS, INC.
n/k/a CHEROKEE RESOLUTIONS,
INC., Assignee of Cityscape Corp. :
A New Jersey Corporation : Misc. Action No. 2:01-mec-00021 (KSH)
Plaintiff, :
VS.

WALSH SECURITIES CORP. a/k/a
WALSH SECURITES, INC. a/k/a
WALSH SECURITIES
INCORPORATED a/k/a WALSH
HOLDINGS a/k/a WALSH
HOLDINGS, LLC a/k/a WALSH
HOLDINGS, INC. a/k/a WALSH
PROPERTY, INC. a/k/a WALSH
PROPERTY, LLC f/k/a GF
MORTGAGE CORP. f/k/a GF
HOLDINGS, INC. a/k/a GF
HOLDINGS, LLC a/k/a GF
PROPERTY, INC. a/k/a GF
PROPERTY, LLC n/k/a EQUITY
REWARDS MORTGAGE, INC.
a/k/a WSI, INC. a/k/a FIRESIDE
FINANCIAL, INC. a/k/a REAL :
MONEY, INC. : CERTIFIED ANSWER OF
A New York Corporation : GARNISHEE DUGGAN PARTNERS,
Defendant, : LLC a/k/a DUGAN PARTNERS, LLC
and : TO PLURIES WRIT OF EXECUTION
: FOR REGISTERED JUDGMENT
DUGAN PARTNERS, LLC a/k/a
DUGGAN PARTNERS, LLC
A New Jersey Corporation
Gamishee.

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Duggan Partners, LLC a/k/a Dugan Partners, LLC (Mistakenly identified as Dugan
Partners, LLC a/k/a Duggan Partners, LLC) (“Garnishee”), by and through its attorney, Bruce J.
Meltzer, Esquire, does hereby answer the Pluries Writ of Execution for Registered Judgment of
Cherokee Solutions, Inc. k/n/a Cherokce Resolutions, Inc., Assignee of Cityscape Corp. against
Walsh Securities corp. a/k/a Walsh Securities, Inc. a/k/a Walsh Securities Incorporated a/k/a
Walsh Holdings a/k/a Walsh Holdings, LLC a/k/a Walsh Holdings, Inc. a/k/a Walsh Property,
Inc. a/k/a Walsh Property, LLC f/k/a GF Mortgage Corp. f/k/a GF Holdings, Inc. a/k/a GF
Holdings, LLC a/k/a GF Property, Inc. a/k/a GF Property, LLC n/k/a Equity Rewards Mortgage,
Inc. a/k/a WSI, Inc. a/k/a Fireside Financial, Inc, a/k/a Real Money, Inc. (collectively “Walsh”),
and in support thereof, avers as follows:

1. Plaintiff Cherokee Solutions, Inc. k/n/a Cherokee Resolutions, Inc., Assignee of
Cityscape Corp. is, upen information and belief, a New Jersey corporation with a business
address of P.O. Box 6357, East Brunswick, NJ 08816.

2. Defendant Walsh is, upon information and belief, a New York Corporation.

3. Garnishee Duggan is a New Jersey corporation with a business address of P.O.
Box 712, Asbury Park, NJ 07712.

4, On or about January 3, 2001, judgment was entered in favor of Cityscape Corp.
and against Walsh in the total amount of $4,732,568.93 (“Judgment”) in the U.S. District Court
for the Southern District of New York, Case No. 98-cv-223.

5. On or about May 26, 2004, the Judgment was assigned to Cherokee pursuant to an

Assignment of Judgment and subsequently registered in this jurisdiction.

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6. In or about July 2005, Cherokee served a Pluries Writ of Execution against
Garnishee seeking, infer alia, mortgages or loans belonging to Walsh in the possession of
Gamishee.

7. Garnishee denics that it has any assets or property belonging lo Walsh of any kind
Gnecluding, but not limited to, mortgages, notes, repurchased loans or any other loans or loan
documents) in its possession, custody or control.

WHEREFORE, Garnishee Dugan Partners, LLC a/k/a Duggan Partners, LLC hereby
demands judgment against Cherokee Solutions, Inc. k/n/a Cherokee Resolutions, Inc., Assignee
of Cityscape Corp. vacating and marking as satisfied the Pluries Writ of Execution for
Registered Judgment served upon Garnishee, and for such other and further relief as this Court
deems just and appropriate.

BRUCE J. MELTZER
A Professional Corporation

Attormey for Garnishee Duggan Partners, LLC
a/k/a Dugan Partners, LLC

By: AD

rucey. Melizer

Dated: August 10, 2005

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CERTIFICATION OF SERVICE

I, Bruce J. Meltzer, do hereby certify that on the date shown below, I caused to be served
a true and correct copy of the Answer of Garnishee Duggan Partners, LLC a/k/a Dugan Partners,
LEC on Plaintiff by United States First Class Mail, Postage Prepaid, as follows:
Nancy A, Washington, Esquire

Saiber Schlesinger Satz & Goldstein, LLC
One Gateway Center

13" Floor

Newark, NJ 07102

Bruce J, Meltzer
Date: August 10, 2005

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CERTIFICATION OF FACSIMILE SIGNATURE

I, Bruce J. Meltzer, do hereby certify as follows:

1. Affiant Edmund “Ned” Brown is unavailable to sign the Certification attached to
this pleading.

2. Affiant has acknowledged to me the genuineness of the signature affixed hereto,

3. The Certification or a copy with an original signature affixed will be filed if

requested by the court or a party.

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